          Case 16-15389-elf                           Doc 60      Filed 10/21/19 Entered 10/21/19 11:37:36                            Desc Main



                                                                                                                COUR~
                                                                  Document      Page 1 of 1
Affects confirmed
plan.
                                                     IN THE UNITEl STATES BANKRUPTCY
                                                    FOR THE EASTERN DISTRiCT OF PENNSYLVANIA

                      IN RE:                                                             Chapter 13 Proceeding
                      Michael Blair
                                                                     D(btor              16-15389 ELF
                      WELLS FARGO BANK, N.A.                           I .
                                                                     Movant
                                                         v.
                      Michael Blair ;
                      William C. Miller, Esquire
                                                                     1ondents

                                    STIPULi TION IN SETTLEMENT OF
                      DEBTOR'S MOTION TO APPROVE SALE OF REAL PROPERTY BETWEEN .
                                   DEBTOR      WELL.S FARGO BANK, N.A.1ND
                                Secured e<edito< WELLS F1RGO BANK, N.A. and Pebto<he<cby stipulate the following .. .
                     in settlement ofDebtor's Motion to pprove Sale of Real Property:                                        .
              1. Movant's mortgage lien will be paid in full from the proceeds of the Sale .o f the property located at
                    . 3574 East Thompson Street, ·Philade phia, PA 19134 at the time of closing; and any PayoffFigui·e


              2. Any Sale for less than the full payof ofMovant's lien shall be subject to final approval by WELLS
                     FARG9 BAN.K, N.A..                                                                    .             .             .
              3. The parties agree that a facsimile m y be submitted to 'the Court as if it were an original.


                                                                         Y:

                                                                                                 Date: ·   /0/;J-)J Vj .
                    Brad J. Sadek, Esquire
                    Attorney for Debtor

                     /s/ Jill Manuel-Cou                                                         Date: 10/ 16/2019
                     Jill Manuel-Coughlin, Esquire
                    Attomey for Movant


                                                                                                 Date:         t 0 } I   g , .I
                                                                                                         --------~~~·~7,~~-----
                                                                                                                                  1
                    William C. Miller, Esquire NO OB~ECT ION
                    Trustee                    *with ou~ prejudice to any
                                                               trustee f igl'!ts and remedies.
                                                                       I
                                                i
                     On this _ -day of _______ -+
                                                1____, 2 019, approved by the Court.



                                                                                                 United States Bankruptcy Judge
                                                                                                 Eric L. Frank                         ·
                           I
                                   .
                               . , c • ~ ~ • L. •         1I
